  Case 1:13-cv-01064-JTN ECF No. 412, PageID.6219 Filed 11/01/19 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



OLDNAR CORPORATION,
f/k/a Nartron Corporation,
a/k/a Gen X Microsystems, Inc.,                       Case No. 1:13-cv-1064

       Plaintiff,                                     Hon. Janet T. Neff



SANYO NORTH AMERICA
CORPORATION,et al.

       Defendants.




      Revised Joint Statement of the Case and Statement of the Elements

       The Sixth Circuit Opinion in this case impacts the claims that remain at issue. Oldnar Corp.

V. Panasonic Corp. ofN.A., 766 Fed. Appx. 255 (6"^ Cir. March 14, 2019). On April 2, 2008,
Nartron Corporation entered into a Development and Supply Agreement("DSA") with SANYO

Automotive U.S.A., Inc.. Plaintiff Gen X Microsystems, Inc., f/k/a Oldnar Corporation f/k/a

Nartron Corporation ("Nartron") claims in this suit that Defendant Sanyo North America

Corporation (Sanyo) breached section 9.3 of the DSA by (i) using Nartron's Intellectual Property

("Know How")— without its written permission and payment ofroyalties ~ to obtain a production

order from GM for a certain integrated center stack ("ICS") product and (ii) by using Nartron's

Know How in the ICSs shipped to GM. Nartron also claims that, because they used Nartron's

Know How, Sanyo and Defendant Panasonic Corporation of America ("Panasonic") have been

unjustly enriched at Nartron's expense. The unjust enrichment claim against Sanyo is limited to

the period of time after the expiration of the DSA (i.e., from April 3, 2012) until its merger with

Panasonic (i.e., March 31, 2015).




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  Case 1:13-cv-01064-JTN ECF No. 412, PageID.6220 Filed 11/01/19 Page 2 of 3




       To establish breach of contract under Michigan law, Nartron must show (i) the existence

of a valid and enforceable contract between the parties, (ii) the terms of the contract, (iii) that

Sanyo breached the contract and (iv) that Nartron suffered an injury as a result of the breach.
Pinkston-Poling v Advia Credit Union /, 227 F. Supp. 3d 848, 853 (W.D. Mich. 2016). To

establish unjust enrichment, Nartron must show that (i) Sanyo and Panasonic benefitted from

Natron's Know How and (ii)that it would be inequitable for them to retain it without compensating

Nartron. Oldnar Corp., 766 Fed. App'x. at 265. Nartron alleges that it is entitled to damages from

Sanyo for its breach of the DSA and from both Sanyo and Panasonic under its unjust enrichment

theory. It is Nartron's position that to establish liability under each theory, it must prove that

Sanyo and/or Panasonic used its Know How, which issue is the subject of the evidentiary hearing

currently set for February 21, 2019.

        Defendants deny all of Nartron's claims. First, Defendants maintain that the ICS utilizes

Atmel capacitive touch technology. As such. Defendants deny that Nartron can meet its burden of

showing that its alleged technology was used in production ofthe ICS. Further, Defendants allege

that Nartron's claim for contractual damages under § 9.3 of the DSA—^the only potentially

operable section ofthe DSA under the Sixth Circuit's remand order—is time-barred. Oldnar Corp.

V. Panasonic Corp. ofN.A., et at., 2019 WL 1221081, *9 (6th Cir. Mar. 14, 2019). And even if

Nartron's claims under § 9.3 of the DSA had not expired. Defendants assert that they are not

compensable by royalty. See Reynolds Metals Co. v. Skinner, 166 F. 2d 66, 75-76(6th Cir. 1948)

("Men who have knowledge ofa certain art cannot collect royalty for the use ofunpatented devices

known to and used in the trade merely because of their know-how."). Finally, Defendants allege

that the information Nartron shared with Defendants was not legally compensable under a claim

of unjust enrichment because it is either barred by statute {see MCL § 445.1908 (the Michigan




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  Case 1:13-cv-01064-JTN ECF No. 412, PageID.6221 Filed 11/01/19 Page 3 of 3




Uniform Trade Secrets Act)) or void as against public policy (see Hayes-Albion v. Kuberski, 421

Mich. 170, 189 (1984)("Once [a] trade secret becomes public, everyone is entitled to use the

information."); see also ConFold Pac., Inc. v. Polar Indus., Inc., 433 F.3d 952, 959 (7th Cir.

2006)).




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